         Case 1:20-cr-00361-ELH Document 67-8 Filed 11/05/21 Page 1 of 1



Honorable Judge Ellen Hollander

Dear Judge Hollander,
This letter is on behalf of James Piccirilli. I would like to thank you in advance for taking the time
to review this letter.

I am currently employed by the Department of Homeland Security, and previously have been
employed by two firearms shops, Freedom Armory and Condition One Weapons. I met Jim
(James) through our work at Condition One Weapons in 2014. He was brought in as a gunsmith
for the shop but was often brought out front to explain technical things to customers because he
has an impressive knowledge base on so many different firearms. Over time I got to know Jim
well. He loved opening things up to see how they worked. Jim just had an endless curiosity on
how things work and why something works better than another way. He loved taking a system
that worked well and making it better. He had studied many different systems and tested them.
He would test and test until something failed, at which point he would find out why and make
improvements. He came to know the Heckler and Koch’s firearms and history so well, that a
company who was manufacturing them hired him as an expert consultant because he knew
more than their lead technicians. He had big ideas on how to perfect the operating system and
had aspirations to work with the military to develop this firearm he had imagined and perfected
the design of over the years. Jim was also very interested in working with law enforcement and
wanted to help them get the best equipment for the job. While employed by Condition One
Weapons, he was working with the local police force, Gettysburg Police Department. Jim
worked on many different firearms builds and repairs for many other businesses such as ranges
and Gun shops.

Beyond getting to know Jim’s vast knowledge and passion for mechanics, I also eventually got
to know him on a personal level. I would describe Jim as generous, smart, ambitious, fun, and
has a huge, genuine heart. When he talks about his children, even the ones that are not
biologically his, you see a sparkle in his eyes, and can sense his pride for them. Jim wanted the
best for his family and worked hard to make his passion a reality so he could provide a good
future for them. Jim was professionally trained by law enforcement and is well versed on firearm
safety. I feel strongly that Jim would never want to put his family at risk. Jim is not a danger to
himself or anyone else, I honestly don’t think he could even hurt a fly. His passion for firearms
has nothing to do with violence, it’s all about the intrigue of the mechanics. The man doesn’t
have a mean bone in his body. Before the initial trial, I spoke with one of the police officers of
Gettysburg Police Department that had worked with and gotten to know Jim during his time at
Condition One Weapons. He had heard about the charges and made the comment that he
couldn’t believe a nice guy like Jim was going through this situation. He stated that he didn’t
think that Jim would qualify for red flag laws because he is not dangerous. He thought highly of
Jim’s character. There were many other who were also shocked when they found out about the
situation. Jim is a good guy with a gentle heart, who works passionately for his dreams.

Very Respectfully,
Jordan Soliday
